                             Michael Faillace & Associates, P.C.
                                            60 East 42nd Street
                                                Suite 4510
                                           New York, NY 10165
                          Ph:(212) 317-1200                  Fax:(212) 317-1620


Miguel Nepomuceno Valencia                                                                  August 13, 2021




                                                                                  File #:       DoughBoys
Attention:                                                                        Inv #:           Sample

RE:         Nepomuceno Valencia et al v. Doughboys of 3rd Ave, Inc. et al;
            18-cv-11385-RWS

DATE              DESCRIPTION                                        HOURS        AMOUNT         LAWYER

Dec-08-18         research on Ds                                         0.50         50.00             PL

Apr-12-19         phone calls to clients to inform them of               0.20         20.00             PL
                  mediation cancellation

Jun-18-19         Phone calls with clients to schedule upcoming          0.20         20.00             PL
                  conference

Jun-19-19         phone call with client to discuss upcoming             0.10         10.00             PL
                  conference

Jun-26-19         phone calls to clients to cancel Thursday's            0.10         10.00             PL
                  settlement meeting

Jun-28-19         Meeting with clients to discuss case and               0.50         50.00             PL
                  upcoming settlement conference

Jul-10-19         phone calls with clients to schedule upcoming          0.20         20.00             PL
                  meeting

Jul-30-19         meeting with clients and defendant to discuss          0.50         50.00             PH
                  settlement

                  meeting with clients and defendant to discuss          0.50         50.00             PL
                  settlement (translated)

                  research on defendants                                 0.25         25.00             PL
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    Aug-06-19        phone calls with clients to remind them of        0.10     10.00             PL
                     settlement conference

    Aug-07-19        attended settlement conference                    3.00   1,050.00            PH

                     attended settlement conference (translated)       3.00    300.00             PL

    Oct-22-19        Call with defense counsel re: settlement          0.20     55.00             FD
                     negotiations

    Oct-24-19        Filed joint status letter                         0.10     27.50             FD

    Nov-06-19        Emailed defense counsel re: financial             0.10     27.50             FD
                     statements, tax returns

    Nov-13-19        Reviewed tax returns, emailed defense re: tax     0.30     82.50             FD
                     returns, financials

    Nov-19-19        Ran Lexis search for assets of Van Selvarajah     0.80    220.00             FD

                     Ran Lexis searches for assets of Defendants       0.70    192.50             FD

                     Drafted demand for financial information and      0.20     55.00             FD
                     emailed it to Defendants

    Dec-02-19        Emailed defense re: status of financial info      0.10     27.50             FD

    Dec-04-19        Reviewed tax returns of new york investors        0.10     27.50             FD

                     Reviewed tax returns of new york investors        0.20     55.00             FD

                     Reviewed tax returns, drafted joint letter and    0.60    165.00             FD
                     sent to defense counsel

    Jan-14-20        Case status evaluation: receive case and update   0.27     94.50             KH
                     file

    Jul-14-20        Determined with lead attorney that she is         0.10     45.00             MF
                     getting discovery requests and ·DEPOSITION
                     of notices out
                     Consult with MF regarding strategy.               0.10     35.00             CE

    Jul-20-20        Draft discovery requests.                         2.30    805.00             CE

    Jul-28-20        had telephone conference with client and          0.20     90.00             MF
                     updated him on the status of case; contacted
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                     CT and got further updates on the status of the
                     discovery stage of the case; informed client of
                     thestage of discovery that we are at
                     Consult wiith MF andclient.                       0.20    70.00            CE

    Jul-29-20        Revise discovery demands.                         1.30   455.00            CE

                     Draft deposition notices for corporate            0.50   175.00            CE
                     defendants.

                     Draft deposition notices for indvidual            0.60   210.00            CE
                     defendants.

                     Proofread, finalize, and serve discovery          1.10   385.00            CE
                     demands and ·deposition notices.

    Feb-04-21        Reviewed court order scheduling telephone         0.30   135.00            MF
                     conference; directed staff to update case chart
                     ; filed order in the proper folder for future
                     reference
                     reviewed court order rescheduling telephone
                     conference; directed staff to update case chart
                     ; filed order in the proper folder for future
                     reference

                     Phone call with opposing counsel.                 0.20    70.00            CE

                     Preparation fr conference.                        0.30   105.00            CE

                     Attend conference.                                0.50   175.00            CE

    Feb-08-21        Phone call with opposing counsel.                 0.30   105.00            CE

                     Email exchange with opposing counsel.             0.20    70.00            CE

    Mar-01-21        Correspondence with opposing counsel.             0.20    70.00            CE

    Mar-03-21        Consult with MF.                                  0.20    70.00            CE

    Mar-17-21        Consult with JB and MF.                           0.10    35.00            CE

    Mar-18-21        Research into PPP loans for back wages.           0.50   175.00            CE

    Jun-01-21        Review order from court.                          0.10    35.00            CE
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    Jul-09-21        Draft email to opposing counsel.                 0.10          35.00            CE

    Jul-22-21        Draft email to opposing counsel.                 0.10          35.00            CE

    Jul-23-21        Review order.                                    0.10          35.00            CE

                     Phone call with opposing counsel                 0.20          70.00            CE

    Aug-03-21        Email to opposing counsel.                       0.10          35.00            CE

                     Review email from opposing counsel.              0.10          35.00            CE

    Aug-05-21        Consult with clients.                            0.40          40.00            PL

    Aug-10-21        Draft settlement agreement.                      0.90        315.00             CE

                     Email correspondence with opposing counsel.      0.30        105.00             CE

    Aug-19-21        Consult with opposing counsel regarding          0.30        105.00             CE
                     settlement terms.

                     Draft fairness letter.                           0.70        245.00             CE

                     Revise terms of settlement agreement.            0.20          70.00            CE
                                                                           ___________
                     Totals                                          25.62    $7,134.50


    DISBURSEMENTS

    Dec-06-18        Filing Fee                                                   400.00
                     Service of Complaint on Individual Defendants                200.00

                     Service of Complaint on Corporate Defendants                 150.00

    Jan-18-19        Service of Complaint on Individual Defendants                200.00

                     Service of Complaint on Corporate Defendants                 150.00

                                                                             ___________
                     Totals                                                     $1,100.00
                                                                                            ___________
                     Total Fee & Disbursements                                                 $8,234.50
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                                                   ___________
                  Balance Now Due                     $8,234.50
